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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


     IN RE JOHNSON & JOHNSON                     Civil Action No. 3:16-md-2738-
     TALCUM POWDER PRODUCT                       MAS-RLS
     MARKETING, SALES
     PRACTICES AND PRODUCTS                      MDL No. 2738
     LIABILITY LITIGATION

     This Document Relates to All Cases



         SUPPLEMENTAL BRIEF IN FURTHER SUPPORT OF PLAINTIFFS’
         RENEWED MOTION FOR LEAVE TO FILE A SECOND AMENDED
                   MASTER LONG FORM COMPLAINT


           Plaintiffs, by and through Plaintiffs’ Steering Committee (“PSC”), submit

    this Supplemental Brief in further support of Plaintiffs’ Renewed Motion for Leave

    to File a Second Amended Master Long Form Complaint (“Second Amended

    Master Complaint”) and states as follows:

    I.     INTRODUCTION

           On October 24, 2023, Special Master Schneider issued an email to the

    parties posing several questions relating to the PSC’s Renewed Motion for Leave

    to File a Second Amended Complaint. In particular, the Special Master

    Schneider’s email stated:

                 Counsel, I am writing in connection with the motion to
                 amend scheduled for OA on 11/21/23. As to the proposed

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                 spoliation claim it appears the parties are relying on their
                 papers filed in 2020/2021. I want to make sure this is
                 correct and give the parties an opportunity to update their
                 papers if they so desire. To this end plaintiffs may file a
                 supplemental brief on the proposed spoliation claim by
                 11/4/23. Defendants may respond by 11/14/23. Kindly
                 confirm whether plaintiffs are still asking for an
                 amendment only as to Alaska, Conn., New Mexico, Ohio
                 and West Virginia. If so are there any recent spoliation
                 decisions from these states to be considered? Also, kindly
                 confirm that the only talc decisions addressing the
                 spoliation issue are Hayes (Ky.) and Rimondi (NJ).

                 Thank you for your consideration.

          The PSC submits this supplemental brief in response to the Special Master’s
    inquiry.

    II.   DISCUSSION

          A. THE PROPOSED SECOND AMENDED MASTER LONG FORM
             COMPLAINT SEEKS TO ADD A SPOLIATION CAUSE OF
             ACTION ONLY AS TO THE STATES OF ALASKA,
             CONNECTICUT, NEW MEXICO, OHIO, AND WEST VIRGINIA
          In the proposed Second Amended Master Long Form Complaint, the PSC

    asserts a spoliation cause of action as to the States of Alaska, Connecticut, New

    Mexico, Ohio, and West Virginia. The aforementioned states remain the only

    states that recognize an independent cause of action for spoliation and the law the

    PSC previously relied on remains good law. As such, the PSC continues to rely on

    the cases cited to and the arguments articulated in Plaintiffs’ Memorandum of Law

    and Plaintiffs’ Reply Memorandum in support of the spoliation claim for the five

    referenced states.

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          B. NO TALC DECISION HAS ADDRESSED THE APPLICABILITY
             OF SPOLIATION AS A FREE-STANDING CAUSE OF ACTION;
             TALC CASES DISCUSSING SPOLIATION HAVE DONE SO
             SOLELY IN THE CONTEXT OF THE PROPRIETY OF THE
             ISSUANCE OF AN ADVERSE INFERENCE CHARGE TO A
             JURY

          To date, there have been no talc cases that have addressed spoliation as an

    independent cause of action. As such, Defendants’ reliance on Hayes and Rimondi

    in support of an argument that a claim of spoliation cannot be added to this case, as

    a separate count, is misplaced. Neither Hayes nor Rimondi were decided under the

    law of any of the five states that recognize spoliation as a separate cause of action,

    so the cases have no relevance to the issue of whether a spoliation cause of action

    can be asserted under the laws of those five states.

          Apart from analyzing spoliation under inapplicable state laws, both the

    Hayes and Rimondi decisions only address spoliation in the context of adverse

    inference instructions. See Hayes v. Colgate-Palmolive Co., No. 16-CI-003503

    (Ky. Cir. Ct. April 12, 2019); see also Rimondi v. BASF Catalysts LLC, et al., No.

    MID-2912-17AS (N.J. Super. Ct. Law Div. Feb. 22, 2019). At this stage in the

    litigation, Plaintiffs are not seeking a spoliation instruction and a ruling on this

    matter would be premature. Instead, Plaintiffs are seeking to amend the Master

    Long Form Complaint to include spoliation as a separate cause of action for those

    Plaintiffs relying on the substantive law of the five states that clearly recognize

    spoliation as a free-standing cause of action. Thus, Defendants have not provided

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    no basis upon which this Court should deny the proposed amendment to include a

    spoliation cause of action for those five states.

          In Hayes, a Kentucky trial court applied Kentucky evidentiary and jury

    charge rules. The court denied the request for a jury instruction on spoliation,

    finding that the plaintiffs failed to show that Johnson & Johnson (“J&J”) should

    have reasonably anticipated litigation. See No. 16-CI-003503 at 38. However,

    because Kentucky does not recognize spoliation as a free-standing claim, the

    decision has no relevance to the issue before this Court and, to the extent it does, it

    is only relevant to an adverse inference charge at trial. Further, as compared to

    Hayes, the proposed Second Amended Master Consolidated Complaint includes

    myriad allegations supporting an adverse inference charge.

          The Hayes decision can be broken down into three parts. First, the court

    considered whether a 1969 J&J letter composed by Dr. T.M. Thompson provided

    J&J with reasonable notice of anticipated litigation. See id. at 37. The court found

    that “[Dr. Thompson’s] statement that litigation is ‘not inconceivable’ falls short of

    a statement sufficient to support a finding that litigation was reasonable

    anticipated.” Id. However, the remainder of the letter indicates that Dr. Thompson

    recommended that “someone in the Law Department should be consulted with

    regard to the defensibility of our position in the event that such a situation could

    ever arise.” See Ex. 96 (JNJ000087991 (4/15/1969 Letter from T. Thompson to W.


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    Ashton Re: Alternate Domestic Talc Sources)); see also Ex. 2 (2/15/2019 Musco

    Dep. 64:18—68:1). The court also discredited the effect that such an implication

    may have on the company because the statement was made “by a doctor rather

    than by an employee that might be expected to be responsible for assessing

    Johnson & Johnson’s litigation risks.” No. 16-CI-003503 at 37. The trial court’s

    generalized statement undervalued Dr. Thompson’s role as J&J’s Medical

    Director, the capacity in which he wrote the letter to Mr. William Ashton, a J&J

    executive supervising the company’s talc-based products. See Ex. 96

    (JNJ000087991 (4/15/1969 Letter from T. Thompson to W. Ashton Re: Alternate

    Domestic Talc Sources)).

          Next, the court held that the multiple talc-related cases initiated in the 1970s

    to the 1980s did not give rise to a reasonable anticipation of litigation. See Hayes,

    No. 16-CI-003503 at 37. However, in contrast to the holding in Hayes, the

    proposed Second Amended Master Long Form Complaint alleges that beginning as

    early as 1971, J&J was required to turn over documentation which related to

    “ongoing,” “pending,” and “anticipated” litigation regarding Johnson’s Baby

    Powder. See Ex. 2 (2/15/2019 Musco Dep. 74:23—76:7, 93:3-16). In fact, during

    the 1970s alone, J&J had been sued in talc-based suits nearly every year of the

    decade. See id. (2/15/2019 Musco Dep. 81:25—82:18).




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          In contrast to Hayes, in Lanzo v. Cyprus Amax Mins. Co., 254 A.3d 691

    (N.J. Super. Ct. App. Div.), cert. denied, 258 A.3d 355 (N.J. 2021), a New Jersey

    appellate court upheld the provision of an adverse inference jury instruction in a

    talc case. Lanzo was decided after the briefing on the PSC’s prior request to amend

    the master complaint, so Lanzo provides an updated analysis and provides more

    relevant direction for the Court.

          In Lanzo, the plaintiff alleged he contracted mesothelioma from his long-

    term use of Johnson’s Baby Powder and Johnson & Johnson’s Shower to Shower

    talcum powder. See id. At 697. In its opinion, the appellate court analyzed

    defendant’s involvement in another prominent case, Westfall v. Whittaker, Clark &

    Daniels, Metro. Talc Co., 571 F. Supp. 304 (D.R.I. 1983). See id. At 717. Filed in

    1979, Westfall is often cited as “the first of many asbestos lawsuits.” Williams v.

    BASF Catalysts LLC, 765 F.3d 306, 313 (3d Cir. 2014).1 Although Westfall

    involved injuries from industrial talc exposure, the court held that the case

    provided the defendant with sufficient notice that a plaintiff would likely bring a

    suit claiming to have suffered from an asbestos-related disease. See Lanzo, 254

    A.3d at 717. Finding that the defendant knew or should have known that talc

    samples may be necessary for future litigants, the Lanzo court upheld the trial


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     Plaintiffs continue to separately assert the independent tort of fraudulent
    concealment for all states, which in some states encompasses destruction of
    evidence. Williams, 765 F.3d at 319.
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    court’s decision to issue an adverse inference instruction to remedy the prejudice

    experienced because of the spoliation of evidence. Id. at 721.

          Finally, in Hayes, the court held that the cases pending against J&J in the

    1990s, which “[a]dmittedly … involved claims of mesothelioma arising from use

    of Johnson & Johnson’s cosmetic talcum powder products,” still did not prove

    sufficient notice because these actions were dismissed before trial. See No. 16-CI-

    003503 at 38. However, it is well established that the duty to preserve commences

    once a lawsuit has been filed. See generally Turner v. United States, 736 F.3d 274,

    282 (4th Cir. 2013) (“Generally, it is the filing of a lawsuit that triggers the duty to

    preserve evidence.”). Moreover, the numerous cases pending against J&J, even for

    a brief period, taken in the aggregate would have provided J&J with sufficient

    notice that more lawsuits were likely to come.

          In Rimondi, a case decided prior to Lanzo, the court briefly analyzed

    whether J&J’s involvement in Westfall triggered its duty to preserve talc samples.

    See No. MID-2912-17AS at 18-19. The court held that although J&J, through its

    subsidiary Windsor Minerals (“Windsor”), was a party to the case, its involvement

    was short lived and, thus, did not establish a duty to preserve. See id.; see also

    Westfall, 571 F. Supp. 306 (noting that the plaintiff amended her complaint in 1982

    to add Windsor as a defendant). Again, as indicated above, the duty to preserve

    commences once a claim has been filed. See Turner, 736 F.3d at 282. Therefore,


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    no matter how long Windsor was a party to the case, notice of the litigation was

    sufficiently provided once they became a defendant in 1982. Further, although the

    Westfall court never addressed whether Windsor knew or should have known that

    it may be brought into the litigation prior to 1982, the facts of the case indicate that

    it likely did. See generally Westfall, 571 F. Supp. at 313. When Westfall was

    originally filed, a “John Doe Corporation” was used to describe an entity that

    manufactured and/or distributed talc to Uniroyal, Inc (“Uniroyal”). See id.

    Documents produced in discovery later revealed that Uniroyal was receiving talc

    from J&J’s Vermont Mine during the time in question. See id. at 315. As such, J&J

    should have reasonably anticipated litigation as early as 1979 given that its talc

    was derived from the same mines. See generally Lanzo, 254 A.3d at 717 (finding

    that the defendant’s participation in Westfall put the defendant on notice as early as

    1979); see also Williams v. BASF Catalysts LLC, No. 11-1754, 2016 WL 1367375,

    at *5 (D.N.J. Apr. 5, 2016) (same).

          The facts of this case are more akin to Bader v. Johnson & Johnson, 303

    Cal. Rptr. 3d 162 (Cal. Ct. App. 2022), as modified on denial of reh'g (Jan. 23,

    2023), review denied (Apr. 12, 2023). In Bader, the court found that the plaintiffs

    provided ample evidentiary support to show that J&J was aware that its products

    contained asbestos and wrongfully destroyed documents that supported this

    conclusion. See id. at 194-95. Here, Plaintiffs’ proposed amendments provide


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    sufficient evidentiary support that J&J should have anticipated litigation and, in

    fact, wrongfully destroyed evidence to protect itself from foreseen lawsuits. See

    SAC ¶¶ 210-400, 1044-1051. Additionally, Lanzo and Willaims also recognize

    sufficient notice stemming from the defendants’ involvement in Westfall. See

    Lanzo, 254 A.3d at 717; see also Williams, 2016 WL 1367375, at *5.

           To this end, although no talc decision has addressed the issue of spoilation

    as an independent cause of action, Bader, Lanzo and Williams provide the most

    accurate insight into how the issue of spoliation has been addressed in recent talc

    decisions. These cases stand for the proposition that spoliation claims and/or

    adverse inference jury instructions are warranted here. However, at the pleadings

    stage, where the issue before the Court is whether the PSC’s proposed Second

    Amended Master Long Form Complaint can include an independent cause of

    action for spoliation for the five states that recognize spoliation as an independent

    cause of action, the Court need not consider whether an adverse inference

    instruction or any other remedies available under other causes of action are

    appropriate.

    III.   CONCLUSION

           For the foregoing reasons, the PSC respectfully request the Court grant their

    Renewed Motion for Leave to File a Second Amended Master Long Form




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 Complaint and deem the amendments automatically incorporated in all short form

 complaints.

 Dated:        November 4, 2023             Respectfully submitted,


                                            /s/ Michelle A. Parfitt
                                            Michelle A. Parfitt
                                            ASHCRAFT & GEREL, LLP
                                            1825 K Street, NW, Suite 700
                                            Washington, DC 20006
                                            Telephone: (202) 783-6400
                                            Fax: (202) 416-6392
                                            mparfitt@ashcraftlaw.com

                                            /s/ P. Leigh O’Dell
                                            P. Leigh O’Dell
                                            BEASLEY, ALLEN, CROW,
                                            METHVIN, PORTIS & MILES, P.C.
                                            218 Commerce Street
                                            Montgomery, AL 36104
                                            Telephone: (334) 269-2343
                                            Fax: (334) 954-7555
                                            Leigh.odell@beasleyallen.com

                                            Plaintiffs’ Co-Lead Counsel

                                            /s/ Christopher M. Placitella
                                            Christopher M. Placitella
                                            COHEN, PLACITELLA & ROTH,
                                            P.C.
                                            127 Maple Avenue
                                            Red Bank, NJ 00701
                                            Telephone: (732) 747-9003
                                            Fax: (732) 747-9004
                                            cplacitella@cprlaw.com

                                            Plaintiffs’ Liaison Counsel

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